         Case 4:19-cv-00422-RM Document 223 Filed 10/23/23 Page 1 of 42



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 6                          IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8
 9   Jeremy Pinson,                                  No. CV-19-00422-TUC-RM
10                    Plaintiff,                     ORDER
11   v.
12   United States,
13                    Defendant.
14
15           Pending before the Court is Plaintiff Jeremy Pinson’s Motion for Order Securing
16   Trial Witness Appearances (Doc. 216), to which Defendant United States responded
17   (Doc. 222).
18           Plaintiff seeks the issuance of subpoenas to secure the trial testimony of the
19   following BOP staff members and inmates that Plaintiff avers are located at 9300 S.
20   Wilmot Road, Tucson, AZ 85756: (1) Dr. S. Johnson, (2) Dr. James Hayden, (3) Dr.
21   Samantha Licata, (4) Lieutenant Espinoza, (5) Lieutenant Garrett Merrell, (6) DHO
22   Antoinetta Estrada, (7) Officer Miguel Vasquez, (8) Nurse Jeffrey Williams, (9) Anthony
23   Bennett, (10) Samuel Bynum, (11) Tori Jackson, (12) Cody Jackson, (13) Nicholas
24   Wilcox, (14) Jason Gendron, (15) Justin Gulisano, and (16) Ernesto Zaragosa-Solis. (Id.
25   at 2-5.)   In compliance with General Order 18-19,1 Plaintiff states the anticipated
26   1
       General Order 18-19 provides, in relevant part, that “any self-represented litigant who
     wishes to serve a subpoena must file” a written motion with the Court that sets “forth the
27   name and address of the witness to be subpoenaed,” states “with particularity the reasons
     for seeking the testimony,” and includes as an attachment “a copy of the proposed
28   subpoena.”
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 1   testimony of each witness and, with the exception of Officer Miguel Vasquez, Plaintiff
 2   includes a copy of a proposed subpoena for each witness. (Id.; Doc. 216-1). Plaintiff
 3   also seeks to subpoena former BOP employees Barbara von Blanckensee, Randy
 4   Carbajal, Nurse J. Avilez, and Officer Johnny Dukett, and she seeks the Court’s
 5   assistance in serving subpoenas on those individuals at their home addresses. (Doc. 216
 6   at 1-2.) She does not state the reasons for seeking the testimony of the former BOP
 7   employees, but she disclosed their anticipated testimony in the parties’ Joint Proposed
 8   Pretrial Order.   (See id.; Doc. 162 at 5, 7-9).    Finally, Plaintiff seeks to subpoena
 9   MacArthur Latulas, whom she avers is in BOP custody at an unknown address. (Doc.
10   216 at 5.) Plaintiff requests that the Court order the U.S. Marshal’s Service to serve the
11   requested subpoenas, and she asks for clarification regarding how she must submit
12   witness fees. (Id.) Plaintiff asks that her non-staff witnesses appear by videoconference.
13   (Id.)
14           Defendant objects to subpoenaing witnesses whose testimony Defendant contends
15   is precluded by the Court’s rulings on the parties’ Motions in Limine. (Doc. 222.)
16   Specifically, Defendant objects to subpoenaing Barbara von Blanckensee, Randy
17   Carbajal, Johnny Dukett, Dr. S. Johnson, Jason Gendron, Justin Gulisano, Nicholas
18   Wilcox, Tori Jackson, Cody Jackson, and MacArthur Latulas. (Id.) Defendant has no
19   objection to subpoenas being issued to Nurse J. Avilez, Dr. James Hayden, Dr. Samantha
20   Licata, Lieutenant Garrett Merrell, Nurse Jeffrey Williams, DHO Antoinetta Estrada,
21   Lieutenant Espinoza, Officer Miguel Vasquez, Anthony Bennett, Samuel Bynum, and
22   Ernesto Zaragosa-Solis. (Id. at 3-4.) Defendant stipulates to providing Nurse J. Avilez
23   with a subpoena. (Id. at 3.)
24           The Court has reviewed the anticipated witness testimony listed in Plaintiff’s
25   Motion and the Joint Proposed Pretrial Order. In light of the Court’s rulings on the
26   parties’ Motions in Limine (Doc. 217), the Court finds that the anticipated testimony of
27   the following witnesses is inadmissible: Barbara von Blanckensee, Randy Carbajal,
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         Case 4:19-cv-00422-RM Document 223 Filed 10/23/23 Page 3 of 42



 1   Johnny Dukett, Jason Gendron, Justin Gulisano, and Nicholas Wilcox.2 Furthermore,
 2   based on the anticipated testimony disclosed in the parties’ Joint Proposed Pretrial Order
 3   (Doc. 162), the testimony of the following witnesses is also inadmissible: Dr. S. Johnson,
 4   Tori Jackson, Cody Jackson, and MacArthur Latulas.3 Although Plaintiff’s Motion states
 5   different anticipated testimony with respect to these four witnesses, the testimony
 6   described in Plaintiff’s Motion was not timely disclosed in the Joint Proposed Pretrial
 7   Order.
 8            A. Inmate Witnesses
 9            Plaintiff previously asked the Court to issue writs of habeas corpus ad
10   testificandum to secure the physical presence of herself and her trial witnesses. (Doc.
11   128.) The Court has issued a writ to secure Plaintiff’s physical presence at trial (Doc.
12   220), but it has not yet resolved the issue of whether to issue writs with respect to
13   Plaintiff’s inmate witnesses (see Docs. 152, 175). It appears that Plaintiff is no longer
14   requesting issuance of writs of habeas corpus ad testificandum to secure the physical
15   presence of her inmate witnesses. (See Doc. 216 at 5.) The Court finds that the inmate
16   witnesses’ appearance through videoconference technology will alleviate the security
17   risks and expense associated with transporting the witnesses to trial while still allowing
18   the Court to view the witnesses and adequately judge their credibility. See Velasquez v.
19   City of Santa Clara, No. 5:11-CV-03588-PSG, 2013 WL 6320849, at *5 (N.D. Cal. Dec.
20   4, 2013) (finding inmate’s “participation through video conference would alleviate
21   significant expense and security risks without . . . denying the jury the adequate
22   opportunity to judge his credibility”); see also Wiggins v. Alameda Cnty., 717 F.2d 466,
23
     2
       Plaintiff indicates Nicholas Wilcox will testify to prior sexual predation by Makhimetas
24   and USP-Tucson staff noncompliance with PREA. (Doc. 162 at 7; Doc. 216 at 4.) The
     latter testimony is clearly precluded by the Court’s ruling on Defendant’s Motion in
25   Limine No. 2. (See Doc. 217.) Wilcox’s testimony concerning prior sexual predation by
     Makhimetas would potentially be relevant only if there were a showing that Officer
26   Vasquez was aware of the prior sexual predation at the time of the events at issue in this
     case. Plaintiff has not made such a showing.
27   3
       Furthermore, the Court has been unable to locate inmate MacArthur Latulas using the
     BOP’s inmate locator. The Court has located one current inmate and two former inmates
28   with the name Cody Jackson, none of whom are located at USP-Tucson; it is not clear
     which of these three individuals Plaintiff is attempting to subpoena.

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      Case 4:19-cv-00422-RM Document 223 Filed 10/23/23 Page 4 of 42



 1   468 n.1 (9th Cir. 1983) (per curiam) (in determining whether to issue a writ to secure a
 2   prisoner’s physical presence at trial, courts consider the security risks and expense
 3   associated with transporting the prisoner).
 4          Of the inmate witnesses listed in Plaintiff’s Motion for whom Plaintiff disclosed
 5   admissible testimony in the parties’ Joint Proposed Pretrial Order, the BOP’s inmate
 6   locator indicates the following are currently located at USP-Tucson: Anthony Bennett
 7   and Samuel Bynum. The BOP’s inmate locator indicates that inmate Ernesto Zaragosa-
 8   Solis is housed at USP Coleman II.
 9          To allow courthouse staff to make videoconference arrangements, the Court will
10   set the testimony of these three inmate witnesses for specific times on November 9, 2023.
11   The Court will order the U.S. Marshal’s Service to serve the subpoenas attached to this
12   Order on these witnesses.
13          B. BOP Staff Witnesses
14          The Court will order the U.S. Marshal’s Service to serve the attached subpoenas
15   on witnesses Dr. James Hayden, Dr. Samantha Licata, Lieutenant Espinoza, Lieutenant
16   Garrett Merrell, DHO Antoinetta Estrada, Officer Miguel Vasquez, and Nurse Jeffrey
17   Williams at 9300 S. Wilmot Road, Tucson, AZ 85756.
18          The subpoenas command these witnesses to appear for trial on November 6, 2023,
19   at 9:30 a.m. However, the Court grants these witnesses permission to appear on the date
20   and time of their estimated testimony, rather than on the first day of trial. Plaintiff and
21   Defendant are instructed to work together to notify the witnesses of the estimated date
22   and time of their testimony.
23          C. Witness Fees
24          “Serving a subpoena requires delivering a copy to the named person and, if the
25   subpoena requires that person’s attendance, tendering the fees for 1 day’s attendance and
26   the mileage allowed by law.” Fed. R. Civ. P. 45(b)(1). Pursuant to 28 U.S.C. § 1821(b),
27   a witness “shall be paid an attendance fee of $40 per day for each day’s attendance” and
28   “for the time necessarily occupied in going to and returning from the place of


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         Case 4:19-cv-00422-RM Document 223 Filed 10/23/23 Page 5 of 42



 1   attendance.” Mileage fees “shall be paid to each witness who travels by privately owned
 2   vehicle” pursuant to the mileage allowances the Administrator of General Services has
 3   prescribed for official travel of federal employees, 28 U.S.C. § 1821(c)(2), currently 65.5
 4   cents per mile.4     A plaintiff’s in forma pauperis status does not relieve her of her
 5   obligation to tender witness fees. Tedder v. Odel, 890 F.2d 210, 211 (9th Cir. 1989) (per
 6   curiam). To facilitate payment of witness fees, the Court will instruct the U.S. Marshal’s
 7   Service to provide each subpoenaed witness a copy of the attached fee voucher.
 8           IT IS ORDERED that the Clerk’s Office is directed to issue the attached trial
 9   witness subpoenas and forward them, along with the Marshal’s Process Receipt & Return
10   form (USM-285), copies of this Order, and copies of the attached fee voucher, to the U.S.
11   Marshal’s Service.
12           IT IS FURTHER ORDERED that within fourteen (14) days of the date this
13   Order is filed, the U.S. Marshal’s Service shall serve the subpoenas on witnesses
14   Anthony Bennett, Samuel Bynum, Dr. James Hayden, Dr. Samantha Licata, Lieutenant
15   Espinoza, Lieutenant Garrett Merrell, DHO Antoinetta Estrada, Officer Miguel Vasquez,
16   and Nurse Jeffrey Williams, along with a copy of this Order and the fee voucher for each
17   witness, at the following address:
18           USP-Tucson
19           9300 S. Wilmot Rd.
20           Tucson, AZ 85756
21           IT IS FURTHER ORDERED that within ten (10) days of the date this Order is
22   filed, the U.S. Marshal’s Service shall serve the subpoena on witness Ernesto Zaragosa-
23   Solis, along with a copy of this Order and the fee voucher, at the following address:
24           USP-Coleman II
25           846 NE 54th Terrace
26           Sumterville, FL 33521
27   ....
28   4
        See https://www.gsa.gov/travel/plan-book/transportation-airfare-pov-etc/privately-
     owned-vehicle-mileage-rates

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      Case 4:19-cv-00422-RM Document 223 Filed 10/23/23 Page 6 of 42



 1          IT IS FURTHER ORDERED that within seven (7) days of the date this Order is
 2   filed, Defendant shall serve a subpoena on Nurse J. Avilez.
 3          IT IS FURTHER ORDERED that the parties shall work together to inform the
 4   following witnesses of the anticipated date and time of their testimony in the trial in this
 5   matter: Dr. James Hayden, Dr. Samantha Licata, Lieutenant Espinoza, Lieutenant Garrett
 6   Merrell, DHO Antoinetta Estrada, Officer Miguel Vasquez, Nurse Jeffrey Williams, and
 7   Nurse J. Avilez.
 8          Dated this 20th day of October, 2023.
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                     Case 4:19-cv-00422-RM Document 223 Filed 10/23/23 Page 28 of 42
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                    District of Arizona
                                                      __________    District of __________

                          Jeremy Pinson                                        )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No. 4:19-cv-00422-RM
                          United States                                        )
                              Defendant                                        )

                                              SUBPOENA TO APPEAR AND TESTIFY
                                           AT A HEARING OR TRIAL IN A CIVIL ACTION
      Officer Miguel Vasquez
To:

                                                       (Name of person to whom this subpoena is directed)

         YOU ARE COMMANDED to appear in the United States district court at the time, date, and place set forth below
to testify at a hearing or trial in this civil action. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.



Place: U.S. Courthouse                                                                      Courtroom No.: 5A
        405 W. Congress St., Tucson AZ 85701                                                Date and Time: 11/06/2023 9:30 am

          You must also bring with you the following documents, electronically stored information, or objects (leave blank if
not applicable):




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                               OR


                                            Signature of Clerk or Deputy Clerk                                  Attorney’s signature



The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                 , who issues or requests this subpoena, are:



                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                     Case 4:19-cv-00422-RM Document 223 Filed 10/23/23 Page 29 of 42
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 2)

Civil Action No. 4:19-cv-00422-RM

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                                 .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                            ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                  for travel and $                                 for services, for a total of $          0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                       Server’s signature



                                                                                                     Printed name and title




                                                                                                        Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                       Reset
                      Case 4:19-cv-00422-RM Document 223 Filed 10/23/23 Page 30 of 42
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where            until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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               Case 4:19-cv-00422-RM Document 223 Filed 10/23/23 Page 37 of 42
U.S. Department of Justice
Justice Management Division                                      Fact Witness Voucher
   NOTE: THE DOJ-3 MUST NOT BE HANDLED BY THE FACT WITNESS OTHER THAN FOR SIGNATURE PURPOSES

PART I - GENERAL INFORMATION
This Voucher is for:
 Fact Witness     Travel Companion                     Federal Government Employee Fact Witness                      International Fact Witness
This Voucher is from:
Please answer each question below.
The Fact Witness/Travel Companion:
    Was     Was Not a United States Citizen at the time of attendance.
     Was      Was Not a Federal government employee at the time of attendance.
     Did      Did Not receive a cash or check advance. Advance Amount: $                               From:
Witness Name:
Travel Companion Name (if applicable):

For U.S. Citizen or Legal Resident -       Social Security Number:               -         -
For Non-U.S. Citizen -      Passport No.:                       Visa No.:                        Alien Registration Record No.:

Address:                                                                         Apt. #:                 City:
State:                                           Country:                                                            ZIP Code:
Phone No.:                                            E-Mail Address:
Court Doc. No.:                                       Case Name/No.:
District:                                                                 Court Location:
Was CBA used for:          N/A           Transportation      Lodging
PART II - ATTENDANCE CERTIFICATION
                                NOTE: Retention of these fees is considered taxable income and reportable to IRS.
                                                                                                       FEES          OBJECT CLASS AMOUNTS
A. Attendance
                                                                                                                       SOC/SSOC    (Dollars)
  Deposition Dates (Including Travel):                               to                        $40 @          Days     11804 / 1126
  Grand Jury/ Hearing/ Trial Attendance Dates
                                                                     to                        $40 @          Days     11804 / 1156
                               (Including Travel):

  Pretrial Conference Dates (Including Travel):                      to                        $40 @          Days     11804 / 1194
  Detained Dates - Citizen/Visitor in Custody:                       to                        $40 @          Days     11804 / 1193
  Detained Dates - Deportable Alien in Custody:                      to                        $1 @           Days     11804 / 1195
                                                                                                                       TOTAL FEES:
B. Attendance Attestation: I attest that the witness named above appeared at a scheduled judicial proceeding or pretrial conference (as
defined under 28 CFR PART 21), and is entitled to receive the statutory fees and expenses in accordance with 28 U.S.C. § 1821.


Printed Name                                                Signature                                                      Date

Title of Authorized Federal Government Official
A copy of Form USM-376A, Signature/Designation Form for
Approving Officer must be on file with the USMS

                                                                                                                                       Form DOJ-3
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PART III - ALLOWANCES
                                                                                                                                                OBJECT CLASS AMOUNTS
                                                                                                                                                  SOC/SSOC    (Dollars)
C. Travel by Carrier (Receipts over $75.00 required if paid by witness or travel companion.                                                      21011 / 2191
   DO NOT claim if paid by Federal government) Check One:                                       Train        Bus         Airplane                   2108
D. Travel by Privately Owned Vehicle:
                                                                  Round Trip Mileage:                               @$               Per Mile    21015 / 2192
                                                               Total Number of Trips:
                                                             Less Advance Received:
E. Local Transportation & Other Expenses (e.g. subway, bus, taxi, tolls, parking, baggage fees, hotel taxes, etc.)
     ** All expenses over $75.00 must have a receipt. If receipts are not provided for expenses over $75.00, a
        Verification Without Receipt Form must be submitted.
   List Expenses and Value of the Expenses Authorized to be Paid:                                                                                21001 / 2193
                                                                                                                                                    2133




F. Meals and Lodging:
         Travel Days
    1.    (3/4 M&IE for Federal government employee fact witness, 1/2 M&IE for non-Federal   @$             x        Day(s) = $                  21013 / 2194
         government employee fact witness)


    2. Days Away from Home (full day's M&IE per day)                                         @$             x        Day(s) = $                  21013 / 2194
    3. Actual Cost of Lodging, Not to Exceed $                                               @$           *x         Day(s) = $                     21012
         (Do not claim if paid by Federal government                     *The Actual Cost of Lodging cannot be greater than the Not to Exceed
         lodging amount)
             NET AMOUNT PAID (Fees plus totals of Sections C, D, E, and F minus Advance Received from top of Page 1):

PART IV - CERTIFICATION
     SOCIAL SECURITY NUMBER/PRIVACY ACT NOTICE: Disclosure of your Social Security number is mandatory for Federal income tax
     reporting purposes under the authority of 26 CFR Section 301-6109-1, in order to ensure the accuracy of income computation by the Internal
     Revenue Service. This information will be used to identify an individual who is compensated by funds of the Department of Justice. Failure to
     provide this information may result in delay of your compensation, and the Department of Justice will be required to notify the Internal Revenue
     Service that your number is unknown. This information is being provided on Form 1099 to the Internal Revenue Service.

     Falsification of an item may constitute a forfeiture of claim (28 U.S.C., Section 2514) and may result in a fine of not more than $10,000 or
     imprisonment of not more than 5 years or both (18 U.S.C. 287).

CERTIFICATION: I certify that this voucher is true and correct to the best of my knowledge and belief, and that payment or credit has not
been received by me.


Signature                                                                                                                                            Date

PART V - CLAIM VERIFICATION
VERIFICATION: I verify that the above information and receipts provided by the witness or travel companion, is true and correct to the
best of my knowledge.



 Signature                                                                                                                                           Date


Title of Authorized Federal Government Official                                                      E-mail Address



                                                                                                                                                                Form DOJ-3
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         INSTRUCTIONS FOR COMPLETING DOJ-3 FACT WITNESS VOUCHER

These instructions are to assist you with properly completing the DOJ-3. An incomplete or incorrect DOJ-3
will be returned for modification.
It is the responsibility of the Litigating Office to complete the DOJ-3. Fact witnesses, travel companions,
Federal government employee fact witnesses, or international fact witnesses must only handle the DOJ-3 for
signature purposes.
PART I - GENERAL INFORMATION

SELECT ONE OF THE FOLLOWING:

This voucher is for:

   •     Fact Witness Travel Companion* Federal Government Employee Fact Witness International Fact Witness

*Travel companions must have their own DOJ-3, separate from the fact witness, Federal government
employee fact witness, or international fact witness to whom they are accompanying. A memo (OBD
Litigating Offices only), UEFW Form (USAO only), or an order from the court (FPD and CJA attorneys
only) approving a travel companion and expenses must be attached to the DOJ-3. Attendance fees are not
allowable for travel companions or Federal government employee fact witnesses.

For travel companion vouchers, also include the name of the fact witness, Federal government employee fact
witness, or international fact witness on the DOJ-3.

SELECT ONE OF THE FOLLOWING:

This voucher is from:
   •     ATR     CIV     CJA    CRM      CRT     ENRD         FPD   TAX     USAO      USPC      USTP
Answer each question to indicate if:

       • The fact witness, travel companion, or international fact witness was/was not a United States citizen at
         the time of attendance. If not a citizen, proof of legal residence or visitor status is required.
       • The fact witness was/was not a Federal government employee fact witness at the time attendance.

       • The fact witness, travel companion, Federal government employee fact witness, or international
         fact witness did/did not receive a check or cash advance for his/her expenses in traveling to court.
         If an advance was received, enter the amount and issuing office here.




                                                                                                          Form DOJ-3
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         INSTRUCTIONS FOR COMPLETING DOJ-3 FACT WITNESS VOUCHER

Indicate and verify the fact witness, travel companion, Federal government employee fact witness, or
international fact witness's Name, Social Security Number, Passport/Visa Number (if applicable), Alien
Registration Record Number (if applicable), Address, Telephone Number, and E-mail Address.

One or more of the following forms of identification or documents will be required in order to receive
fees and expenses.

ACCEPTABLE FORMS OF IDENTIFICATION

     •   Valid Social Security Number (Legal citizen or resident of the U.S.)

     •   Valid Alien Registration Record Number (Alien who is legally permitted in the U.S.)

     •   Valid Passport Number

     •   Valid Visa Number (International Fact Witness only)

     •   Valid Photo Identification (e.g., driver's license, passport, visa, etc.)

ACCEPTABLE DOCUMENTS

     •   Court Order Classifying a Deportable Witness

     •   Material Witness Warrant

     •   Subpoena

     •   USA-150 (USAO only)

     •   Letter in lieu of Subpoena

     •   Court Order Requesting the Appearance and Expenses of a Fact Witness (FPD and CJA Attorney
         only)

     •   Court of Appointment (CJA Attorney only)

     •   DOJ-44 (International Fact Witness only)

     •   Funding Cable (International Fact Witness only)

     •   DOJ-426 (Federal Government Employee Fact Witness only)

     •   Memo Explaining Unusual Circumstances

                                                                                                     Form DOJ-3
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         INSTRUCTIONS FOR COMPLETING DOJ-3 FACT WITNESS VOUCHER

     •   Memo Approving Miscellaneous Expenses (DOJ-OBD only)

     •   UEFW Form (USAO only)

This information will be used to identify an individual who can be compensated in accordance with 5 U.S.C.
§ 5751, 18 U.S.C. § 3144, 28 U.S.C. § 1821, and 28 CFR PART 21.

Failure to provide any of the above forms of identification or documents will result in delay or rejection of
payment.

PART II - ATTENDANCE CERTIFICATION

A Federal government employee of the litigating office who can attest the appearance of a fact witness,
Federal government employee fact witness, or international fact witness must sign Section B of Part II. CJA
attorneys are prohibited from signing the DOJ-3. CJA attorneys must obtain signatures from the Clerk of the
Court, U.S. Magistrate Judge, or FPD.

The Federal government employee signing Part II must have a USM-376A (Signature Form) on file with the
U.S. Marshals Service.

PART III - ALLOWANCES

All expenses over $75.00 must have a receipt attached to the DOJ-3 prior to payment. Claims for
reimbursement are not processed until the fact witness, travel companion, Federal government employee fact
witness, or international fact witness furnishes all receipts for expenses over $75.00.

If receipts are not provided for expenses over $75.00, a Verification Without Receipt Form must be attached
to the DOJ-3 prior to payment. The Verification Without Receipt Form is available from the U.S. Marshals
Service.

In Section F.1 (Travel Days), calculate ¾ M&IE for a Federal government employee fact witness and ½
M&IE for a fact witness, travel companion, or international fact witness. M&IE is based on the Federal
Travel Regulations and 28 CFR Part 21.

PART IV - CERTIFICATION

Verify that all items under Part III are correct. A Federal government employee assigned to assist the fact
witness, travel companion, Federal government employee fact witness, or international fact witness must
initial or sign any changes to Part III. The fact witness, travel companion, Federal government employee fact
witness, or international fact witness must sign and date the DOJ-3.




                                                                                                     Form DOJ-3
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      INSTRUCTIONS FOR COMPLETING DOJ-3 FACT WITNESS VOUCHER

If the fact witness, travel companion, or Federal government employee fact witness departs the trial district
and does not sign the DOJ-3, a letter signed by the fact witness, travel companion, or Federal government
employee fact witness requesting reimbursement of expenses is required. The fact witness, travel
companion, or Federal government employee fact witness must send the letter and a copy of a valid photo
ID to the litigating office for inclusion with the DOJ-3.

PART V - CLAIM VERIFICATION

Before transmitting the voucher to Justice Management Division (Federal government employee fact
witness only) or the U.S. Marshals Service for payment, a Federal government employee of the litigating
office must validate the accuracy and completeness of the expenses claimed by the fact witness, travel
companion, Federal government employee fact witness, or international fact witness and sign Part V. A
USM-376A (Signature Form) is not required for the Federal government employee signing Part V.

The Justice Management Division or the U.S. Marshals Service processes the DOJ-3 and a check is mailed
to the fact witness, travel companion, or Federal government employee fact witness at the address indicated
on the first page of the DOJ-3.

Reimbursement for international fact witnesses and international travel companions is paid on-the-spot by
the U.S. Marshals Service prior to departing the trial district.




VOUCHER DISTRIBUTION:
Original - USMS Financial System
Copy 1 - Federal Government Employee Who Signed in Part V (Claim Verification)
Copy 2 - USMS District Office in Witness's Location (if applicable)




                                                                                                     Form DOJ-3
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